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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

 UNITED STATES OF AMERICA                   §
                                            § Cause No. 1:17-CR-154(8)
 v.                                         § (Judge Marcia Crone)
                                            §
 JASON WRIGHT (8)                           §


                  UNITED STATES GOVERNMENT'S NOTICE AND
                   INFORMATION OF PRIOR CONVICTION FOR
                     PURPOSE OF INCREASED PUNISHMENT

 TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, the United States of America, by and through the office of the

 United States Attorney for the Eastern District of Texas and files this Notice and

 Information of Prior Convictions for Purpose of Increased Punishment and by way of

 Notice and Information would state the following:

                                           I.

        That the defendant Jason Wright, has (at least) two (2) prior final felony conviction

 for offenses punishable under the Controlled Substance Act, as amended (Title 21 U.S.C.

 et seq.) or other laws of a State, the United States of America, or foreign country relating

 to narcotic drugs, marihuana, or depressant or stimulant substances, to wit:

 1.     CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE PENALTY
        GROUP 1 — GREATER THAN 1 GRAM AND LESS THAN 4 GRAMS

        CAUSE NO.: 92271

        COURT:        252ND JUDICIAL COURT OF JEFFERSON COUNTY, TEXAS

        SENTENCE: 6 MONTHS INCARCERATION
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       DATE OF JUDGEMENT: August 16, 2004



 2.    CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE PENALTY
       GROUP 1 — GREATER THAN 4 GRAMS AND LESS THAN 200 GRAMS

       CAUSE NO.: 96 291

       COURT:        252ND JUDICIAL COURT OF JEFFERSON COUNTY, TEXAS

       SENTENCE: 3 YEARS INCARCERATION

       DATE OF JUDGEMENT: July 20, 2006

 3.    CHARGE:       POSSESSION OF A CONTROLLED SUBSTANCE PENALTY
       GROUP 1

       CAUSE NO.: 08 02743

       COURT:        252ND JUDICIAL COURT OF JEFFERSON COUNTY, TEXAS

       SENTENCE: 4 YEARS INCARCERATION

       DATE OF JUDGEMENT: June 9, 2008

 4.    CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE PENALTY
       GROUP 1 — GREATER THAN 4 GRAMS AND LESS THAN 200 GRAMS

       CAUSE NO.: 708099/2014-002401

       COURT:        252ND JUDICIAL COURT OF JEFFERSON COUNTY, TEXAS

       SENTENCE: 5 YEARS INCARCERATION

       DATE OF JUDGEMENT: August 4, 2014


                                           II.

       That the United States Government intends to rely upon the prior final felony

 convictions hereinabove for the purpose of increased punishment as made for and provided
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 by 21, U.S.C. §§ 841(b)(1)(A) and 851.



        WHEREFORE, PREMISES CONSIDERED, the United States respectfully

 requests that upon a determination that the defendant, Jason Wright, is subject to increased

 punishment by reason of prior convictions, the court proceed to impose sentence upon said

 defendant as provided by law, specifically: a) in the case of two prior final felony drug

 convictions: not less than life imprisonment.

                                    Respectfully submitted,

                                    JOSEPH D. BROWN
                                    UNITED STATES ATTORNEY

                                    /s/ Christopher T. Rapp
                                    CHRISTOPHER T. RAPP
                                    ASSISTANT UNITED STATES ATTORNEY
                                    Arizona Bar No. 025704
                                    350 Magnolia, Ste. 150
                                    Beaumont, TX 77701
                                    409-839-2538




                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above notice has been forwarded
 to defense counsel via first E File on the 13th day of July, 2018.



                                    /s/ Christopher T. Rapp
                                    CHRISTOPHER T. RAPP
                                    ASSISTANT UNITED STATES ATTORNEY
